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UNITED STATES DISTRICT COURT
NORTHERN DISTRICT OF NEW YORK

JOHN HIGGINS,
                                 Plaintiff,

                                                                                        Case No.: 06-cv-689
                                                                                              (GLS-DRH)
CONSOLIDATED RAIL CORPORATION
and CSX CORPORATION,
                Defendants.


DEFENDANTS' MEMORANDUM OF LAW IN SUPPORT OF ITS OMNIBUS MOTION
                            LIMINE

            AND NOW, come the Defendants, CSX CORPORATION and CONSOLIDATED RAIL

CORPORATION, (hereinafter "Defendants") by and through its attorneys and files the within

Memorandum of Law in Support of Its Omnibus in Limine.

                                                         BACKGROUND

            Plaintiff filed a Complaint pursuant to the Federal Employers' Liability Act, ("FELA"),

45 U.S.C. § 51 et. alleging he developed carpal tunnel syndrome to his left upper extremity

as a result of the negligence of Defendants. As set forth in more detail below, the Defendants

request that Plaintiff be precluded from introducing evidence on the various topics identified

below.

                LAW AND ARGUMENT

      A. Plaintiff's Should not be Permitted to Discuss Before the Jury Any Purported
          Congressional Intent for the Enactment of FELA.

                It is wholly inappropriate for Plaintiff to discuss before the jury any purported

"Congressional intent" for the enactment of the Federal Employers' Liability Act ("FELA");

such argument should not be permitted. $ee Stillman v. Norfolk & Western Ry. Co., 811 F.2d

834 (4 th Cir. 1987).



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            In Stillman, the Plaintiff contended that the district court erred in refusing to permit his

counsel to present an argument to the jury concerning Congress' intent in enacting FELA. See,

Id. at 838. The court stated, "[s]o long as the jury was properly instructed on the applicable law,

we can see no reason why it would be either necessary or appropriate for the jury to hear an

argument about Congress's intent in enacting [FELA]." Id. at 838.

            Moreover, it has been held to be trial error either to argue or advise the jury regarding the

history of FELA. See, Atlantic Coast Line R.R. Co. v. McDonald, 119 S.E.2d 356 (Ga.App.

1961); Texas & New Orleans R.R Co. v. Arnold, 381 S.W.2d 388 (Tex.App. 1964). In Atlantic,

the court stated, that, "[no evidence] could have been placed before the jury, regarding the

history of the Federal Employers' Liability Act and the reasons behind its enactment.

Such...had no place in the jury's deliberations as to the merits of the case." Atlantic, 119 S.E.2d

at 364.

            WHEREFORE, Defendants respectfully request that this Honorable Court instruct the

Plaintiff not to mention, refer to, interrogate concerning, or attempt to convey to the jury in any

manner, either directly or indirectly, the congressional intent of FELA.

      B. No Reference May be Made in a FELA Case Regarding the Lack of Workers'
         Compensation Benefits Available to Plaintiff.

                Any remark comparing the FELA to Workers' Compensation Acts, or the fact that the

Plaintiff was not covered under Worke s' Compensation Benefits, is impermissible; no reference

may be made in a FELA case regarding the lack of Workers' Compensation benefits available to

Plaintiff. See, Hileman v. Pittsburgh & Lake Erie R.R. Co., 546 Pa. 433 (1996); Snyder v.

Lehigh Valley R.R. Company, 245 F.2d 112 (3d Cir. 1957); Kodack v. Long Island R.R.

Company, 342 F.2d 244 (2d Cir. 1965).




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          In Hileman, the court held it to be reversible error for an injured employee's counsel to

comment on the fact that Plaintiff did not receive Workers' Compensation benefits. See,

Hileman, 546 Pa. 433, 442. The court stated that the Plaintiff s "ineligibility for workers'

compensation benefits was irrelevant to any of the issues to be tried." Id. at 440. Moreover, the

court rationalized, that [i]nformation about the lack of workers' compensation can serve only to

create sympathy for the Plaintiff and potential prejudice against the defendant." Id. at 441.

          Furthermore, the Third Circuit has held that a plaintiff s counsel must also be precluded

from making any comment or statement referring to the FELA action as a Workers'

Compensation case. In Snyder v. Lehigh Valley Rail oad Company, 245 F.2d 112, 115 (3d Cir.

1957), the Plaintiff brought an action under FELA for injuries sustained during his employment

with the defendant railroad. Id. at 115. After the case had been submitted to the jury, the jury

sent the trial judge a written inquiry as to whether the Plaintiff was receiving workmen's

compensation. Id. at 115. The trial judge simply responded to the jury's question in the

negative. Id. at 115.

          On appeal to the Third Circuit, the Court ruled that the judge,. . . should have admonished

the jury that the Plaintiff s receipt or non-receipt of workmen's compensation was not in the

case; that they must put it out of their minds. Instead, by his reply the trial judge in effect gave

judicial sanction to the jury's consideration of an issue which was not only irrelevant but foreign

to the basic question of negligence which it was to decide. Id_ at 115. Therefore, any claims

brought under the Federal Employers' Liability Act should be described as such before the jury

panel. Ultimately, in a FELA action, the issue presented to the jury is whether or not the

defendant railroad was negligent. Referring to a claim brought under FELA as a workers'

compensation case would only, serve to confuse the jury and prejudice Defendants.




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             It is likewise an error to argue that the FELA is the only method the railroad employee

has to recover damages or be paid for an on-the-job injury. $ee Weinell v. McKeesport

Connecting R.y. Co., 411 F.2d 510 (3d Cir. 1969). The Third Circuit held, in Weinell, that

because of an improper comment made by the plaintiff s counsel concerning this subject matter,

the court should properly give an instruction that the FELA was not the plaintiff's only remedy.

It would be just as improper for Plaintiff to argue that the jury verdict was the "only avenue" by

which Plaintiff could be compensated. See, Tucker v. Kansas City Southern Ry. Co., 765

S.W.2d 308 (Mo.App. 1989) (the court granted a new trial).

             WHEREFORE, Defendants respectfully request that this Honorable Court instruct the

Plaintiff not to ment on, refer to, interrogate concerning, or attempt to convey to the jury in any

manner, either directly or indirectly, that Plaintiff s sole remedy is under the Federal Employer's

Liability Act and/or that this case is a Workers' Compensation action.

      C. Any Future Earnings Awarded Must be Reduced to Present Value.
             In the event that an award is made for any future loss of earn ngs, the amount must be

reduced to the present value of the money and a jury instruction to that effect is required. See,

Monessen Southwestern Ry. Co. v. Morgan, 486 U.S. 330 (1988); St. Louis-SW Ry. Co. v.

Dickerson, 470 U.S. 409 (1985); Chesapeake & Ohio R.R. Co. v. Kelly, 241 U.S. 485 (1916);

Wilburn v. Maritrans GP Inc., 139 F.3d 350 (3d Cir. 1998); Gorniak v. Nat'l R.R. Passenger Co.,

889 F.2d 481 (3d Cir. 1989).

                 In FELA cases, "a Defendant is entitled to have the jury instructed that when future

payments or other pecuniary benefits are to be anticipated, the verdict should be made up on the

basis of their present value only." Wilburn, 139 F.3d 350, 364 (quoting, St. Louis-SW Ry. Co.,

470 U.S. 409, 411).




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                State courts have also recognized that damages awarded for future loss of earnings should

be reduced to their present value. Friedman v. C & S Car Serv., 527 A.2d 871 (N.J. 1987); Maus

v. New York, Chicago & St. Louis Rd. Co., 135 N.E.2d 253 (Ohio 1956); Stone v. United

Engineering, A Div. of Wean, Inc., 475 S.E.2d 439 (W. Va. 1996); Chafin v. Norfolk & W. R.R.

Co. 93 S.E. 822 (W. Va. 1917). In Stone, the Supreme Court of Appeals of West Virginia held

that the "Plaintiff was required to establish through expert testimony. . . . an economic calculation

of the monetary loss over the Plaintiff s work-life expectancy reduced to a present day value."

Stone, at 456. In Chafin, the Supreme Court of Appeals of West Virginia held that "[d]amages

under the FELA should be equivalent to compensation for the deprivation of the reasonable

expectation of pecuniary benefits that would have resulted from the continued life of the

deceased employee. A sum payable in the future; and where a verdict is based on the deprivation

of future benefits, the ascertained amount to these should ordinarily be discounted so as to make

the verdict equivalent to their present value." Chafin, 93 S.E. at 824 (quoting, Chesapeake &

Ohio Ry. Co. v. Kelly, 241 U.S. 485 (1916)).

                WHEREFORE, Defendants respectfully request that this Honorable Court enter an

Order that will charge the jury on the reduction of any award for future wages to present value.

      D. Testimony or Other Evidence of Medical Costs, Hospital Bills or Other Medical
         Expenses Paid by a FELA Plaintiff s Employer May not be Introduced.

                A FELA Plaintiff is not permitted to introduce, at trial, testimony or other evidence of

medical costs, hospital bills or other medical expenses that have been paid by his employer

directly or through a group insurance policy, as the san e are not collateral sources. Fuhrman v.

Reading Co., 439 F.2d 10 (3d Cir. 1971); Ford v. Nat'l R.R. Passenger Corp., 734 F. Supp. 215

(D. Md. 1990); Lyons v. Southern Pac. Transp. Co., 684 F. Supp. 909 (W.D. La. 1988); Francis

v. Nat'l R.R. Passenger Corp., 661 F.Supp. 244, 245 (D. Md. 1987); Nelson v. Penn Central R.R.


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Co., 415 F. Supp. 225 (N.D. Ohio 1976) (stating that medical expenses paid by defendant

through group insurance are not collateral sources). Since these items are not collateral sources,

the same are not recoverable as damages. Nelson, 415 F. Supp. 225. Therefore, evidence as to

the amount of expenses or the fact of payment is irrelevant Francis, 661 F.Supp. at 245.

Consequently, the Plaintiff should not be permitted to offer any medical costs, bills or expenses

that have been paid by the Defendants.

           WHEREFORE, Defendants respectfully request that this Honorable Court instruct the

Plaintiff not to mention, refer to, interrogate concerning, or attempt to convey to the jury in any

manner, either directly or indirectly, any reference of claims as to the Reimbursed Amount of

any Past or Future Medical Expenses or Medical Treatment.

     E. Punitive or Exemplary Damages Should not be Permitted in a FELA Case.

               It should be noted that "there [has] not [been] a single case since the enactment of FELA

in 1908 in which punitive damages have been allowed." Kozar v. Chesapeake and Ohio Ry.

Company, 449 F.2d 1238, 1242 (6 th Cir. 1971). In this case, the Court held that punitive

damages are not recoverable under the Federal Employers' Liability Act. Id. at 1238. The court

relied upon a line of Supreme Court cases holding that damages recoverable under FELA are

strictly compensatory in nature. Id. at 1240, (citing, Gulf Colorado and Santa Fe Ry. Co. v.

McGinnis, 228 U.S. 173 (1913)); see also, Michigan Central R.R. Co. v. Vreeland, 227 U.S. 59

(1913); American R.R. Co. of Porto Rico v. Didricksen, 227 U.S. 145, (1913). Other United

States Courts of Appeals have followed the same reasoning, including the Ninth Circuit in
                                                                                                          th Cir. 1987)
Wildman v. Burlington Northern Railroad Company, 825 F.2d 1392, 1395 (9

Therefore, it is clear that other circuits have clearly stated that punitive damages are not an

available remedy under FELA.




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           WHEREFORE, Defendants respectfully request that this Honorable Court instruct the

Plaintiff not to mention, refer to, interrogate concerning, or attempt to convey to the jury in any

manner, either directly or indirectly, any reference to punitive or exemplary damages.

    F. Prejudgment Interest is not Available under FELA.

            "The federal and state courts have held with virtual unanimity over more than seven

decades that prejudgment interest is not available under the FELA." Monessen Southwestern

Ry. Co. v. Morgan, 486 U.S. 330, 336 (1988). Yet, Congress has never attempted to amend the

FELA to provide for prejudgment interest. • We are unwilling in the face of such congressional

inaction to alter the longstanding apportionment between carrier and worker of the costs of

railroading injuries. If prejudgment interest is to be available under the FELA, then Congress

must expressly so provide. Id. at 338.

            It is clear from the above case law that the United States Supreme Court has expressly

held that courts may not award prejudgment interest in Federal Employers' Liability Act suits.

Therefore, Plaintiff's counsel must be precluded from making any statements concerning

prejudgment interest in the presence of the jury.


             WHEREFORE, Defendants respectfully request that this Honorable Court instruct the

Plaintiff not to mention, refer to, interrogate concerning, or attempt to convey to the jury in any

trimmer, either directly or indirectly, any reference to prejudgment interest, as it is not available

under the FELA.

     G. Discussion of Motions in Limine by Plaintiffs Counsel Should be Prohibited.

             It would be wholly inappropriate for Plaintiff s counsel to discuss before the jury the

Motions in Limine themselves; such argument should not be permitted, as it is not relevant. See,

Fed. R.. Evid. 401. The Federal Rules of Evidence state that, "relevant evidence means evidence



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having any tendency to make the existence of any fact that is of consequence to the

determination of the action more probable or less probable than it would be without the

evidence." (emphasis added) Fed. R. Evid 401. Mentioning the Motions in Limine would not

serve the purpose of making any purported fact "that is of consequence" more or less probable

than said fact would be without such evidence. Thus, as set forth under the Federal Rules of

Evidence, "evidence that is not relevant is not admissible." Fed. R. Evid. 402.

                Alternatively, if mentioning the Motions in Limine themselves would be deemed relevant

evidence, it would still be inappropriate to admit them as evidence because of their prejudicial

nature. See, Fed. R. Evid. 403. The Federal Rules of Evidence, state that, "relevant, evidence

may be excluded if its probative value is outweighed by the danger of unfair prejudice...." Fed.

R. Evid. 403. Making mention of the Motions in Limine to the jury purportedly carries no/little

probative value, while the danger of unfair prejudice to the Defendant regarding such evidence is

great, in that it may appear to the jury, which is unfamiliar with such a Motion, that the

Defendant has "something to hide" or are choosing to be "less than upfront" with the jury. The

jury cannot be expected to understand nor should be expected to understand the procedural

and/or strategic elements of filing Motions in Limine.

                WHEREFORE, Defendants respectfully request that this Honorable Court instruct the

Plaintiff not to mention, refer to, interrogate concerning, or attempt to convey to the jury in any

manner, either directly or indirectly, reference to the filing of any Motions in Limine in this

matter and further instruct the Plaintiff and his counsel not to make any reference to the fact that

this Motion has been filed and granted and to warrant and caution each and every one of his

witnesses to strictly follow the same instructions.




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            H. Discussion of Plaintiff or Defendants' Relative Financial Conditions.

            It would be wholly inappropriate for Plaintiff to discuss before the jury the financial

condition of Defendants as there is no issue in the case at bar to which Defendants' financial

condition, or any disparity between Plaintiff and Defendants is relevant. See, Fed. R. Evid. 401.

The Federal Rules of Evidence state that, "relevant evidence means evidence having any

tendency to make the existence of any fact that is of consequence to the determination of the

action more probable or less probable than it would be without the evidence." (emphasis added)

Fed. R. Evid. 401. Mentioning the financial condition of Defendants would not serve the

purpose of making any purported fact "that is of consequence" more or less probable than said

fact would be without such evidence. Thus, as set forth under the Federal Rules of Evidence,

"evidence that is not relevant is not admissible." Fed. R. Evid. 402.

            Further, courts have held that such arguments are not only improper, but constitute

grounds for reversal: "Appealing to the sympathy of the jurors through references to the wealth

of the defendant in contrast to the relative poverty of the plaintiff is totally improper and cause

for reversal." Gonzales v. Volvo of America Corp., 734 F.2d 1221 (7 th Cir. 1984); Garcia v.

Sam Tanksley Trucking, Inc., 708 F.2d 519 (10th Cir. 1983).

            WHEREFORE, Defendants respectfully request that this Honorable Court instruct the

Plaintiff not to mention, refer to, interrogate concerning, or attempt to convey to the jury in any

manner, either directly or indirectly, reference to the relative financial condition of Defendants

and further instruct Plaintiff not to make any reference to the fact that this Motion has been filed

and granted and to warrant and caution each and every one of his witnesses to strictly follow the

same instructions.




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           I. Mention of Loss of Consortium Damages.

           Defendants requests that plaintiff be prevented from testifying as to his family's loss of

consortium damages. A right to recover for loss of consortium damages does not exist when the

underlying claim is brought pursuant to FELA. Sindoni v. Consolidated Rail Corporation 4

F.Supp.2d 358, 362 (M.D. Pa. 1996) (citing Quitmeyer v. Southeastern Pennsylvania

Transportation Authority, 740 F.Supp. 363, 370 (E.D. Pa. 1990)).

           Therefore, it is improper for Plaintiff's counsel to comment to the jury concerning family

members' dependency on Plaintiff for financial support. Chicago St. P.M. & O.R. Co. v. Arnold,

160 F.2d 1002, 1008 (8 th Cir. 1947). In fact, it is improper for Plaintiff to mention that he has a

wife and/or children. Chicago St., 160 F.2d. at 1008. Presentation of such evidence would be

highly prejudicial and misleading and would have no probative value. Fed. R. Evid. 402 and

403.

           WHEREFORE, Defendants respectfully request that this Honorable Court instruct the

Plaintiff and his counsel not to mention, refer to, interrogate concerning, or attempt to convey to

the jury in any manner, either directly or indirectly, reference to loss of consortium damages and

further instruct Plaintiff and his counsel not to make any reference to the fact that this Motion

has been filed and granted and to warrant and caution each and every one of his witnesses to

strictly follow the same instructions.

               J. Mention of Other Claims or Suits Involving Defendant.

               Defendants request that Plaintiff be precluded from presenting evidence concerning other

claims or suits involving Defendant. See, Fed. R. Evid. 401. The Federal Rules of Evidence

state that, "relevant evidence means evidence having any tendency to make the existence of any

fact that is of consequence to the determination of the action more probable or less probable




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than it would be without the evidence." (emphasis added) Fed. R. Evid. 401. Presenting

evidence or commenting on prior suits that have been brought against Defendant would not serve

the purpose of making any purported fact "that is of consequence" more or less probable than

said fact would be without such evidence. Thus, as set forth under the Federal Rules of

Evidence, "evidence that is not relevant is not admissible." Fed. R. Evid. 402.

           Further, evidence of similar acts of negligence is inadmissible when attempting to prove

that the defendant did or did not commit a particular act. Keyser v. H.H. Lackey, 523 S.W.2d

295, 298 (Tex.Civ.App. — Corpus Christi 1975, no writ). Presentation of such evidence would be

highly prejudicial and would serve no probative value. Fed. R. Evid. 402 and 403.

           WHEREFORE, Defendants respectfully request that this Honorable Court instruct the

Plaintiff not to mention, refer to, interrogate concerning, or attempt to convey to the jury in any

manner, either directly or indirectly, reference to other suits or claims against Defendants and

further instruct the Plaintiff and his counsel not to make any refe ence to the fact that this Motion

has been filed and granted and to warrant and caution each and every one of his witnesses to

strictly follow the same instructions.

           K. Evidence of Safer Method of Maintaining Workplace.

           Defendants request that Plaintiff be prevented from presenting any evidence of safer

methods of maintaining his workplace. FELA is not an insurance statute. Myers v. Illinois Cent.

R.R. Co., 323 Ill.App.3d 780, 787 (Ill. App. Ct. 2001). The employer is not held to an absolute

responsibility for the reasonably safe condition of the place, tools, and appliances, but only to the

duty of exe cising reasonable care to that end, the degree of ca e being commensurate with the

danger reasonably to be anticipated. Isgett, 332 F. Supp. at 1133.




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           An employer's duty to its employees under the FELA is to use reasonable care and

prudence so that the work place and the appliances furnished are reasonably safe for the purpose

and in the circumstances in which they are use. SeVmour v. Illinois Cent. R. Co., 25 F.Supp.2d

734, 738 (S. D. Miss. 1997) citing, Armstrong v. Kansas City Southern R. Co., 752 F.2d 1110,

1113 (5 th Cir. 1985). The test, therefore, is not whether the tools to be used and the place in

which the work is to be performed are absolutely safe, or whether the employer knew the same to

be unsafe, but whether or not the employer has exercised reasonable care and diligence to make

them safe. Id.

           Likewise, the court in Chicago & N. R. Co. emphasized that the employer is under a duty

to exercise ordinary care to supply machinery and appliances reasonably safe and suitable for the

use of the employee however, the employer is not required to furnish the latest, best, and safest

appliances, or to discard standard appliances upon the discovery of later improvements, provided

those in use are reasonably safe and suitable. Chicago, 241 U.S. at 473-74. (emphasis added). A

railroad is not required to provide an absolutely safe workplace, but is only held to a duty of

exercising reasonable and ordinary care to provide a reasonably safe place for work to be

performed. Chicago & N.R. R. Co. v. Bower, 241 U.S. 470 (1916).

               Accordingly, in the instant matter, the inquiry should be limited to the Defendants

exercise of reasonable care and ordinary care. Therefore, any inquiry as to whether a railroad

could have employed a safer method of maintaining the workplace is irrelevant and should be

excluded.




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                WHEREFORE, Defendants respectfully request that this Honorable Court instruct the

Plaintiff and his counsel not to mention, refer to, interrogate concerning, or attempt to convey to

the jury in any manner, either directly or indirectly, that Defendants could have employed a safer

method of maintaining the workplace, and further instruct the Plaintiff and his counsel not to

make any reference to the fact that this Motion has been filed and granted and to warrant and

caution each and every one of his witnesses to strictly follow the same instructions.


DATED:                 January 4, 2010                                 McNAMEE, LOCHNER, TITUS
                                                                       & WILLIAMS, P.C.



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